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Kathleen M. Lo er SBN188741 \ T._ '- §§
LAW oFFIcES o K?ATHLEEN M. LoYER, INC. \ ' - ,..
940 Amanecer, Suite L U‘
san clemente, cA 92673 \ ,,

Phone: 949-369-1082

 

\ g
Fax: 949-366-6836 \, ’»_”_~
E-mail: kmlo er@education-law.corn \ fair
` `

Attorney for the: Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT COURT
SOUTHERN DIVISION

CASE NO _ SACV10-00185 AG (MLGx)

COMPLAINT UN'DER THE
INDIVIDUALS WITH '
DISABILITIES EDUCATION ACT,'
DECLARATORY AND INJ'UNCTIVE
RELIEF

[20 U.S.C. Section 1400, et
S€q-]

COMPLAINT FOR ATTORNEY’S

FEES AND OTHER COSTS

[20 U.S.C. §1415(1)(3)et

se .][42 U.S.C.S. Section
19 8]

J.M., a minor, Michael
McCann, PARENT, and Cassie
McCann, PARENT ,

Plaintiffs,

V.

Capistrano Unified school
DISTRICT,

v\_/\_/-_/`_/~._/-_/V~._/V~_/~_/~__/V`_/W`,/~_/

Defendant.

 

Plaintiff, Jacoh McCann by and through his parents,
and his parents Michael McCann and Cassie Mc
(hereinafter taken collectively as “Plaintiffs”)
allege:

I. JURISDICTION AND VENUE

1. This action arises under the laws of the United

States. Jurisdiction is conferred upon this Court

Complaint for Attorney FeES

McCann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 1 of 14 Page |D # 1

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Case 8:1O-cV-00185-AG-|\/|LG Documen_t 1 Filed 02/16/10 Page 2 of 14 Page |D #:

pursuant to 20 U.S.C. Section 1415 (i)(3), and 28
U.S.C. Section 1331 without regard to the amount in
controversy.

Regarding the issue of attorney's fees and costs of
suit, specifically jurisdiction is conferred upon
this Court pursuant to 20 U.S.C. Section 1415(1)(3)
and 42 U.S.C.S. Section 1988.

Venue in this Court is proper pursuant to 28 U.S.C.
Section 1391(b). Plaintiffs, each of them, reside
within the Southern Division of the Central
District of California. Defendant, Capistrano
Unified School District (hereinafter, “District”)
is a school district, doing business within the
Southern Division of the Central District of
California. Moreover, all events, which are
subject of this Complaint, took place within the
Southern Division of the Central District of
California.

II . PARTIES

Plaintiff, J.M., a minor, (hereinafter, “Student”),

was born in 1998, and at all times relevant herein

Complaint for Attorney Fees

McCann v. CaRistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 3 of 14 Page |D #:

 

 

was a person- residing within the jurisdictional
limits of District in Orange County, State of
California. Student is a “child_ with a
disability” as defined in 20 U.S.C. Section
1401(3):
“[A] child -
“(i) with mental retardation, hearing
impairments (including deafness), speech
and language impairments, visual
impairments (including blindness),
serious emotional disturbance, orthopedic
impairments, autism, traumatic brain
injury, other health impairments or
specific learning disabilities; and
(ii) who, by reason thereof, needs
special education and related services.”
Plaintiff, Michael McCann, (hereinafter, “Father”)
is the parent of Student as that term is defined
in 20 U.S.C. Section 1401(23) of the Individuals

with Disabilities Education lmprovement Act

Complaint for Attorney Fees

McCann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 4 of 14 Page |D #:

(hereinafter, “IDEA”) and, at all times herein
mentioned, was a person residing within the
jurisdictional limits of District and within
Orange County, State of California.

6. Plaintiff, Cassie McCann, (hereinafter, “Mother”)
is the parent of Student as that term is defined
in 20 U.s.c. section 1401<23) af the loss ana, at
all times herein mentioned, was a person residing
within the jurisdictional limits of District and
within Orange County, State of California.

7. Defendant, District, is and at all times herein
mentioned has been a public school district
organized and existing under and by virtue of the
laws of the State of California, doing business
within the County of Orange, State of California.
District is a “1ocal education agency” within the
meaning of 20 U.S.C. Section 1401(19).

8. There is a present and actual controversy among the
parties to this action as the District has refused

to reimburse Plaintiffs for attorney’s fees after

Complaint for Attorney Fees

Mc:Cann v. CaBistra.no USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 5 Of 14 Page |D #:!'

having substantially prevailed -at a due process
hearing conducted under the procedural safeguards
Of the IDEA.

III. STATEMENT OE' FACTS

Student is a child who qualifies for special
education services under the eligibility criteria
of Autism

Student has been diagnosed with moderate to severe
Autism, Bipolar Disorder and. Obsessive Compulsive
Disorder. Student has a jhistory of severe znood
swings and autistic like behaviors that impair his
ability to use oral language for appropriate
communication, extreme withdrawal and aggressive
behaviors that have adversely affected academic
progress and required significant behavioral
interventions and support systems.

On or about July 24, 2006 the District filed a
request for due process (RFDP) with the California
Office of Administrative Hearings (OAH) to

determine the appropriateness of the a EUnctional

Complaint for Attorney Fees

HcCann v. Capistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 6 of 14 Page |D #:

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Analysis Assessment (FAA) performed on student in
May 2005. The case was assigned OAH# N2006070729
On or about October' 5, 2006 Petitioners, by and
through their then attorney of record, Paul Roberts
of Roberts & Adams, Attorneys at Law, cross~filed a
RFDP with OAH against the District listing several
issues, contending, in part, that the District
denied FAPE when it failed to properly assess
Student and failed to provide appropriate services.
This case was assigned OAH# N2006100264.
Subsequent to a denial to amend the RFDP,
Petitioner filed another RFDP, OAH case
#N2007070928.

The three cases were consolidated and a due process
hearing was conducted on January 8, through 11,
January 28, through 31, 2008, February 1, 2008 and
March 17, 19, 20 and 21, 2008.

A decision was rendered by the OAH on May 12, 2008
whereby the District was ordered to reimburse the

Parents $79,641.20 for behavioral intervention

Complaint for At.torney Fees

McCann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 7 of 14 Page |D #:'

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services and an assessment (FAA) that they
privately provided, thereby establishing the
Petitioners as substantially prevailing in the
underlying matter as to the failures to provide the
FAA and behavioral services. True and correct
copies are attached hereto as Exhibit #1,
incorporated by reference as though fully set forth
herein.

Petitioners now file this complaint for
reimbursement of reasonable attorney fees.

In determining whether Plaintiffs are the
prevailing party the Court must examine whether
they obtained some relief on the merits of [their]
claim that materially altered the legal
relationship between them.

Defendant District has reimbursed Plaintiffs as
ordered in the OAH decision.

On cn: about. October 3, 2008, Petitioners current
attorney, Ms. Kathleen M. Loyer made a demand for

attorney’s fees incurred and also provided a

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Complaint for Attorney Fees

McCann v. CaRistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 8 of 14 Page |D #:

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complete copy of Mr. Roberts’ billing statements.
A true' and correct copy is attached hereto as
Exhibit #2 and incorporated by reference as though
fully set forth herein. Settlement talks took
place, but were unsuccessful.

Mr. Roberts hourly rate of $315.00 is reasonable.
Associate counsel in the firm billed at rates
raging from $165.00 per hour to $225.00 per hour.
Petitioner’s current counsel's, Ms. Loyer, hourly
billing rate is $400.00

The hourly rates of all counsel are reasonable for
the services and are consistent with the prevailing
rates in Southern California for the kind of
expertise and quality of legal services by
attorneys of comparable skill, experience and
reputationl.

Student contends that he substantially prevailed in
the matter, therefore, the District should

reimburse all costs incurred related to attorney's

Complaint for Attorney Fees

McCann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 9 of 14 Page |D #:

fees, no less than $336,378.50. plus interest at
the legal rate from October 5, 2008 until paid,
plus the additional fees incurred to pursue the
current matter.

IV. CLAIMS FOR RELIEF

 

wHEREFoREj Plaintiffs pray for the judgment as follows:

1. A conclusion that the Plaintiffs substantially
prevailed in the consolidated matter, OAH#
N2006070729, #N2006100264 and #N2007077092,
whereby there was a finding that the District
denied the minor a free and appropriate public
education (FAPE) and was ordered to reimburse
parents over $76,000.00 for educationally related
services.

2. A conclusion that the Plaintiffs are entitled to
reasonable attorney’s fees, costs of suit and
disbursements, no less than $336,378.50 plus

interest at the legal rate from 0ctober 3, 2008

 

1 Ms. Loyer's then current rate of $300.00 an hour was deemed reasonable by the U.S. District

Court, Central Division in the matter entitled Temecula \.’alle;.r Unified School District v. Larsen,
Case no. CV 02~4832~JFW“(EX) June 2003.
Complaint for Attorney Fees

Mc:Cann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed O2/16/1O Page 10 of 14 Page |D #

until paid, plus the additional fees incurred to
pursue the current matter.

V. PRAYERS FOR RELIEF

 

WHEREFORE, Plaintiffs pray for the judgment as follows:
1. Declaratory relief providing that Student
substantially prevailed in the consolidated
matter, OAH# N2006070729, #N2006100264 and
#N20070770928.
2. lnjunctive Relief ordering the District to
reimburse Plaintiffs for all attorney’s fees,
plus interest at the legal rate from October 8,
2008 until paid, plus the additional fees
incurred to pursue the current matter.
3. Such other and further relief as this Court deems
just and proper.
Dated: February 8, 2010

Respectfully submitted by,

dba vii

Kathleen M. Loyer
Attorney for the Plaintif\;/

Complaint for Attorney Fees

McCann v. CaEistrano USD
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Case 8:1O-cV-00185-AG-|\/|LG Document 1 Filed O2/16/1O Page 11 of 14 Page |D #:11

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

N()TICE OF ASSIGNMENT TO UNITED S'I`ATES MAGIS'I`RATE JU])GE FOR DISCOVERY

This case has been assigned to District Judge AndreW Guilford and the assigned
discovery Magistrate Judge is Marc Goldman.

The case number on all documents filed with the Court Should read as follows:

SACVI.O- 185 AG (MLGX)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovely related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on atl defendants (if a removal action is
filed, a copy of this notice must be served on ali piaintii‘fs).

Subsequent documents must be filed al the following location:

[_] Western Dlvlsion [)(] Southern Divlsion Eastern Division
312 N. Spring St., Rm. G-S 411 West Fourth St., Rm. 1-053 3470 Twelf‘th St., Rm. 134
Los Angeles, CA 90012 Santa Anal CA 92701-4516 Riverslde, CA 92501

Fai|ure to file at the proper location will result in your documents being returned to you.

 

CV-‘lB (03/06} NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

Case 8:10-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 12 of 14 Page |D #:12

Name & Address:

Kathleen M. Loyer, CB#18874l

Law Off'lces of Kathleen M. Loyer, Inc.
940 Cal|e Amanecer, Suite L

San Clemente, CA 92673

Ph: 949-369-1082 Fax 949-366-6836

UNITED STATES DIS'I`RICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE NUMBER
J.M., a lninor, Michael McCann, PARENT, and Cassie
McCann, PARENT _ MLGX
PLAIN,HFF(S) SACV10 00185 AG( )
v.
Capistrano Unified School District
SUMMONS
DEFENDANT(S).

 

 

T(); DEFENDANT(S); Capistrano Unified School District

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached lilcomplaint |:l amended complaint

[:l counterclaim |:| cross-claim or a motion under Rule 12 of the F ederal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attorney, Kalhl€€n M- LOY€I' , whose address is
940 Calle Amanecer, Suite L, San Clemente, CA 92673 _ [f you fail to do SO,

 

judgment by default Will be entered against you for the relief demanded in the complaintl You also must tile
your answer or motion with the court.

Clerk, U.S. District Court

FEE 15 2010 aoLLs noYcE A
Dated: By:

 

 

 

 

 

Deputy Clerk

(Seril oft/re Coiirt)

[Use 60 days iftiie defendant is the U)iited Sin'tes or ri Um'led Stn'{es ngenc,'vj or is air officer or ei)ipioyee ofihe Uniien' Stntes. Aliowed
60 days by Rzrle lZ(rr)(_i)].

 

CV-0]A (12/07) SUMMONS OWNAL

Case 8:10-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 13 01 14 Page |D #:13

UNI'I`ED STATES DISTRICT COURT, CE.NTRAL DISTRICT OF CALIFORNIA

Cl\’lL C O\’ER

SHEET

 

f (a) PLAlNTlFFS (Check box if you are representing yourself 1:1)

J‘M., a minor, Michael McCann, PARENT, and Cassie McCenn, PARENT

DEFENDANTS

Capisirar\o Uniiied School District

 

(h) Atturneys (Fin'n Name, Address and Telephone Num'oer. If you are representing

yourself provide same,)
Kathleen M. Loyer, CB#188741

La\v Oft`ices of Kathleen M. Loyer, Inc.
940 Calle Amanecer, Suite L, San Clemente, CA 949-369-1082

 

Attomeys (lfKnown)

S. Daniel ilarbcttle
Harbo‘rtie Law Group

600 Anton B|vd., Suitc l 100
Costa Mesa, CA 92626

 

ll. BASIS OF JURISDICTION (Place an X in one box only.)

ij 1 U.S. Govemment Plaintiii` 53 Federal Question (U.S.
chernrnent Not a Party)

1:| 2 U.S. Government Defendant l:| 4 Diversity (lndicate Citizenship
of Parties in Item 1111

 

III. CITIZENSHIP OF PR]NCIPAL PARTIES - For Diversity Cases Only
{Piace an X in one box for plaintiff and one for defenda.ut.)

PTF DEF PTF DEF

Citizcn ofThis State E| 1 111 1 Incorporated or Principal Place |Il 4 13 4

of`Business in this State

Citizen ofAnother State » 1:1 2 1:.1 2 incorporated and Principal Place [1 5 |:1 5

of Business in Another State

Citizen or Subject ofa Foreign Country l:l 3 111 3 Foreign Natiun 13 6 [1 6

 

1\’. ORIGIN (Place an X in one box only.)

1§(1 Original II| 2 Removed from 1:1 3 Remanded from 1114 Reinstaced or

Proceeding Statc Court Appellate Court Reopened

13 5 Transferred from another district (specit`y): 111 6 Multi- [l 7 Appeal to District

District lodge From
litigation Magistratc judge

 

V. REQUESTED lN COMPLAINT: JURY DEMAND: 1:1 Yes EiNo (Checi< ‘Yes` only if demanded in complaint.)

CLASS ACTfON under F.R.C.P. 23: |:1 Yes ll{No

nfMoNEY DEMANDED 11\‘ CoMPLAINT= s 336,378.50 '

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)

ao us 1915 Cr.ari-i i=ore err/away Fi:'es

VI[. NATURE OF SUIT (P|nce an X in one box only.)

 

 

 

 

 

 

 

 

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111 410 Antitrust 111 120 Marine 1:| 310 Airplfm€ PROPERTY |I| 510 Motions to Act

|:| 430 Banks and Banking [1 130 Miller Act 1:1 315 A`lfllii\_n€ Pl°d'-i€l l:l 370 O£her Fraud Vacate Sentenee l:l 720 Laborngmt_

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|I| 850 Securities/Commoditiesf [1 153 Recovery of P[OductL:-abmty USC 157 1:| 610 Agriculture PROPERTY R_IGHTS
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13 875 Customer Challenge 12 Veteran’s Benefrts Injmy 1:1 441 Vonng Drug Cl 830 Patent
USC 3410 l`_`i 160 Stockholders’ Suits g 363 personal Injury_ 1:1 442 Employment l:| 625 Drug Related 1_:1 840 Tradcmart_<

ij 890 Other Stalutory Actions |:1 190 Oi.her Ccmract Med Ma]pmc[ice |:`l 443 Housing/Acco~ Seizure of ' SO_CIAL S_ECURI'_I'Y

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111 892 Economic Stabilization liability Productl_.iabiliry |:1 444 Welfare 881 [1 862 Black Lung (923)
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111 894 Energy Al]ocation Act C| 210 l_,and Condemnation l__.ial}ilif)f _ Employrnent |:1 650 Airline Regs 1:1 864 SSlD Title XVI

121 895 Freedom oflnfo. Act E| 220 Foreclosurc _ idA]v[I_GRA"I_`IQN ' 12(446 American with 1:1 660 Occupational 1:1 865 RSI (405(g__)) _ ___ _ __

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State Statutes 111 465 Other immigration USC 7609

Actlons
SACV10-00185 AG (MLGX)

FOR OFFICE USE ONLY: Case Nurnber:

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-'il, COMPLE'I`E THE INFORMATION REQUESTED BELO\V.

 

CV-'il (05/08`)

CIV[L COVER

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Case 8:10-cV-00185-AG-|\/|LG Document 1 Filed 02/16/10 Page 14 01 14 Page |D #:14

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CI\’IL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |E/No 111 Yes
lfyes, list case number(s):

 

\’Ill(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? didn I:l Yes
lfyes, list case numbcr(s):

 

Civil cases are deemed related il'a previously filed case and the present casc:
(Check all boxes that apply) 111 A. Arise from the same or closely related transactions happenings or events', or
13 B, Call for determination ofthe same or substantially related or similar questions oflaw and fact; or
111 C. I-`or other reasons would entail substantial duplication of labor if heard by different judges; or
1:| D. involve the same patentl trademark or copyright M one ofthe factors identified above in a, b or c also is present

 

L\'. \"ENUE: (When completing the following infon'nationa use an additional sheet ifnecessary.)

(a) List the County in this District; Califomia County outside ofthis District', State if other than California; or Foreign Counlry, in which EACH named plaintiff resides
1:1 Check here ifthe govemment, its agencies or employees is a named plaintiff lfthis box is checked, go to item (b).

 

County in this District:’ii Califomia County outside of'this District', State, if other than Ca|ifornia; or l~'oreign Couniry

 

Orange County

 

(b) List the County in this District; Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides
13 Check here ifthe government its agencies or employees is a named defendant Ifthis box is checked, go to item (c).

 

County in this Districl;* California County outside ofthis Districi; Staie, if other than Calil`ornia', or Foreign Counlry

 

Orange County

 

 

 

 

(c) List the County in this Districl; Califomia County outside ofthis District', State ifother than Calif`ornia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cases, use the location 01 the tract ofland involved.

 

County in this District:* Califomia County outside oftbis District‘, Stalc, if other than Califomia; or Foreigrl Counlry

 

Orange County

 

 

 

 

* Los Angeles, Orange, San Bernardino, `Riverside, Ventura, Santa Bnrbnra, or San Luls ()bispo Counties
Note: inland condemnation cases. use the location ofthe tract of`land invoived

x7 siGNAruRE or ATTORNEY(oR PRo PER): M . CG"% one § ' ar ‘ / 67
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Notice to CounseliParlies: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings
or other papers as required by law. This fon'n, approved by the indicial Conference ofthe United States in September 1974, is required pursuant to Local Rule 3-1 is not hled
but is used by the Clerk ofthe Court for the purpose of`statisties, venue and initiating the Ci\'il docket sheet (For more detailed instructions See separate instructions Sheet.)

 

Kcy to Statisticai codes relating to Social Security Cases:

Nature of Suit Cude Abbreviation Substantive Statemcnt of Cause ofAction

861 HIA All claims for health insurance benefits (Medicare) under 'l`itle 18, Part A, ofthe Social Security Act, as amended
Also, include claims by hospitals skilled nursing facilities, etc., for codification as providers ofservices under the
program (42 U,S.C, 1935FF(b))

862 BL Al| claims for “Black Lung" benefits under 'l`itle 4, Part B, ofthc Federal Coal Minc Health and Safety Actof1969.
(30 U.S`C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus atl claims filed for child‘s insurance benefits based on disability (42 U.S.C. 405(g))

863 DlWW All claims fded for widows or widowers insurance benedts based on disability under Title 2 ofthe Social Secun`ty
Act, as amended (42 U.S\C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability fiied under Tit|e 16 ofthe Social Security
Act, as amended

865 RSl A|l claims f`or retirement (old age) and survivors benefits under Tille 2 ofthe Social Security Act, as amended (42
U.S.C, (g))

 

CV»'il (051'08) CIVIL COVER SHEET Page 2 of2

